            Case 23-10831-MFW           Doc 920-1     Filed 01/19/24     Page 1 of 5




                                  CERTIFICATE OF SERVICE

               I, Tori L. Remington, hereby certify that on January 19, 2024, I caused the foregoing

Second Supplemental Declaration of Deborah Kovsky-Apap in Support of Application for Entry

of an Order Authorizing the Employment and Retention of Troutman Pepper Hamilton

Sanders LLP as Counsel to the Official Committee of Unsecured Creditors Effective as of

July 17, 2023 to be served upon the parties set forth on the attached service list in the manner

indicated. All ECF participants registered in these cases were served electronically on the date of

filing through the Court’s ECF system at their respective email addresses registered with the Court.


                                          /s/ Tori L. Remington
                                          Tori L. Remington (DE No. 6901)
                                                                           Case 23-10831-MFW                                   DocCore/2002
                                                                                                                                    920-1            Filed 01/19/24
                                                                                                                                            Service List
                                                                                                                                                                                            Page 2 of 5



                  Description                       CreditorName               CreditorNoticeName                 Address1                  Address2              Address3                City      State Zip             Country                     Email                  Method of
                                                                                                                                                                                                                                                                              Service

    Top 30                                Amphenol Interconnect Products   Holly McKiddy, Sophia          20 Valley Street                                                        Endicott          NY    13760                         holly.mckiddy@amphenol-ipc.com;      Email
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    Top 30                                Barry L. Leonard and Company     dba Trans Machine              Barry Leonard              920 Brenner St                               Winston-Salem     NC    27101                         Barry@trans-machine.com              Email
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    Group, LLC                                                                                            Suite 400
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    similarly situated stockholders of                                                                                                                                                                                                  daniel.meyer@blbglaw.com
    Lordstown Motors Corp. f/k/a
    DiamondPeak Holdings Corp.

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    Amin on behalf of themselves and      Grossmann LLP                    Thomas G. James, Margaret      Americas                                                                                                                      thomas.james@blbglaw.com;
    similarly situated stockholders of                                     Sanborn-Lowing                                                                                                                                               margaret.lowing@blbglaw.com
    Lordstown Motors Corp. f/k/a
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    Top 30                                CEVA Contract Logistics US Inc   Jim Zoltowski                  15350 Vickery Dr                                                        Houston           TX    77032                         AR@cevalogistics.com                 Email
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    Top 30                                Elaphe Propulsion Technologies   Luka Ambrozic                  Teslova ulica 30 1000                                                   ljubljana                            Slovenia         Gregor.Golja@elaphe-ev.com           Email
                                          LTD
    Top 30                                Fiberdyne Research Pty Ltd       Julian Merrit                  14 Carmel Ave                                                           Ferntree Gully          VIC 3156     Australia        julian.merritt@fiberdyne.com.au      Email

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                                                                                                                                                                                                                                        m
    Foxconn                               Foxconn (Far East) Limited                                      P.O. Box 31119             Grand Pavilion, Hibiscus 802 West Bay Road   Grand Cayman            KY1-1205     Cayman Islands                                        1st Class
                                                                                                                                     Way                                                                                                                                     Mail
    Top 30                                Foxconn EV System LLC            Attn Liting Cai                4568 Mayfield Rd Ste 204                                                Cleveland         OH    44121                                                              1st Class
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    Top 30                                Foxconn EV System LLC            Butzel Long                    Attn Sheldon Klein         201 W Big Beaver Ste                         Troy              MI    48084                         klein@butzel.com                     Email
                                                                                                                                     1200
    Top 30                                Foxconn EV System LLC            Matt Auffenorde                2300 Hallock Young Rd                                                   Warren            OH    44481                         matthew.auffenorde@fevsys.com;       Email

                                                                                                                                                                                                                                        scot.mcmillin@fevsys.com
    Foxconn                               Foxconn EV Technology, Inc.      Attention: Jerry Hsiao and     4568 Mayfield Road, Suite                                               Cleveland         OH    44121                         jerry.hsiao@foxconn.com;             Email
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                                                                           Co., Ltd. Attn Jerry Hsiao

    Foxconn                               Foxteq Holdings Inc.                                            P.O. Box 31119             Grand Pavilion, Hibiscus 802 West Bay Road   Grand Cayman            KY1-1205     Cayman Islands                                        1st Class
                                                                                                                                     Way                                                                                                                                     Mail
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In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                                                                       1
                                                                            Case 23-10831-MFW                               DocCore/2002
                                                                                                                                 920-1            Filed 01/19/24
                                                                                                                                         Service List
                                                                                                                                                                                          Page 3 of 5



                  Description                       CreditorName                CreditorNoticeName               Address1                   Address2               Address3             City       State Zip             Country                    Email                 Method of
                                                                                                                                                                                                                                                                           Service

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    Top 30                                Harco Manufacturing Group, LLC    Matthew Knepp                3535 Kettering Blvd                                                    Moraine            OH    45439                       mknepp@harcoonline.com              Email
    Foxconn                               Hon Hai Precision Industry Co.,   Attention Jerry Hsiao        No. 66, Zhongshan Road      Tucheng Industrial Zone Tucheng District   New Taipei City          23680        Taiwan         jerry.hsiao@Foxconn.com             Email
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    Top 30                                HRB Industries Corp               Kevin Yao                    3485 Swenson Ave                                                       Saint Charles      IL    60174                       Kevin.Yao@hrbindustries.com;        Email
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                                                                            Operation                                                                                                                                                                                    Mail
    IRS                                   Internal Revenue Service          Centralized Insolvency       2970 Market St                                                         Philadelphia       PA    19104                                                           1st Class
                                                                            Operation                                                                                                                                                                                    Mail
    Top 30                                JVIS USA LLC                      Amanda Campana -             PO Box 530                                                             Mt Clemens         MI    48046                       campana@jvis.us                     1st Class
                                                                            Remittance                                                                                                                                                                                   Mail
    Top 30                                JVIS USA LLC                                                   52048 Shelby Parkway                                                   Shelby Township MI       48315                                                           1st Class
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    Claims and Noticing Agent             KCC                                                            222 N Pacific Coast         Suite 300                                  El Segundo         CA    90245                       LordstownInfo@kccllc.com            Email
                                                                                                         Highway
    Top 30                                Laval Tool & Mould LTD.           David Wightman               4965 8th Concession Rd                                                 Maidstone          ON    N0R 1K0      Canada         dwightman@lavaltool.net             Email
    Debtors                               Lordtown Motors Corp.                                          27000 Hills Tech Court                                                 Farmington Hills   MI    48331                                                           1st Class
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    Top 30                                Marelli North America Inc         dba CalsonicKansel North     Junko Smith                 1 Calsonic Way                             Shelbyville        TN    37160                       rosa.cardona@marelli.com            Email
                                                                            America Inc
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    operations)                                                                                          Building
    Top 30                                Nexteer Automotive Corporation    Bryan Harris                 3900 E Holland Rd                                                      Saginaw            MI    48601                                                           1st Class
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    US Trustee for District of DE         Office of the United States       Benjamin Hackman             844 King St Ste 2207        Lockbox 35                                 Wilmington         DE    19801                       USTPRegion03.WL.ECF@USDOJ. Email
                                          Trustee Delaware                                                                                                                                                                           GOV;                         1st Class
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    DiamondPeak Holdings Corp.
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    Foxconn                               PCE Paragon Solutions Kft.                                     2900 Komarom                                                           Banki Donatu             utca 1       Hungary                                            First Claiss
                                                                                                                                                                                                                                                                         Mail
    Top 30                                Pektron EV Limited                                             Alfreton Road                                                          Derby                    DE21 4AP     United Kingdom afield@pektron.com                  Email

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    Amin on behalf of themselves and                                        J. Adams, Ankita Sangwan
    similarly situated stockholders of
    Lordstown Motors Corp. f/k/a                                                                                                                                                                                                     sjadams@pomlaw.com;
    DiamondPeak Holdings Corp.                                                                                                                                                                                                       asangwan@pomlaw.com
    Top 30                                Proper Group Holdings LLC         dba Proper Tooling LLC       Alex Williams               13870 E Eleven Mile Rd                     Warren             MI    48089                       awilliams@pcamco.com;               Email
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In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                                                                      2
                                                                             Case 23-10831-MFW                                 DocCore/2002
                                                                                                                                    920-1            Filed 01/19/24
                                                                                                                                            Service List
                                                                                                                                                                                                 Page 4 of 5



                  Description                        CreditorName                CreditorNoticeName                Address1                    Address2                 Address3                 City    State Zip            Country                 Email                Method of
                                                                                                                                                                                                                                                                            Service


    Top 30                                 SA Automotive LTD                 Shar Hedayat                  1307 Highview Dr                                                            Webberville       MI    48892                    Shar.Hedayat@saautomotive.com     Email

    Committee of Unsecured Creditors       SA Automotive Ltd.                Attn: Katherine Diederich     1307 Highview Drive                                                         Webberville       MI    48892                    katherine.diederich@aesseinvltd.co Email
                                                                                                                                                                                                                                        m
    SEC Regional Office                    Securities & Exchange             NY Regional Office            Regional Director            100 Pearl St., Suite 20-                       New York          NY    10004-2616               bankruptcynoticeschr@sec.gov;      Email
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    SEC Regional Office                    Securities & Exchange             PA Regional Office            Regional Director            One Penn Center            1617 JFK Boulevard Philadelphia       PA    19103                    philadelphia@sec.gov               Email
                                           Commission                                                                                                              Ste 520
    SEC Headquarters                       Securities & Exchange             Secretary of the Treasury     100 F St NE                                                                Washington         DC    20549                    SECBankruptcy-OGC-                Email
                                           Commission                                                                                                                                                                                   ADO@SEC.GOV;
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    Top 30                                 Sharp Dimension Inc               Tracy Tran                    4240 Business Center Dr                                                     Fremont           CA    94538                    tracy@sharpdimension.com          Email
    Top 30                                 St. Clair Technologies Inc                                      827 Dufferin Ave                                                            Wallaceburg       ON    N8A 2V5      Canada      TArmstrong@stclairtech.com        Email
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    Technologies Ltd.
    Top 30 and Committee of Unsecured      Superior Cam Inc                  John Basso                    31240 Stephenson Hwy                                                        Madison Heights MI      48071                    jbasso@diversifiedtoolinggroup.com Email
    Creditors                                                                                                                                                                                                                           ;
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    Top 30                                 Technology Solutions Anywhere     dba Readysoft                 Sagar Maramreddy             5966 Lovewood Ct                               Canton            MI    48187                    sagarm@readysoftind.com            Email
                                           LLC
    Top 30                                 Teijin Automotive Technologies,   John Ruterbusch               255 Rex Blvd                                                                Auburn Hills      MI    48326                    john.ruterbusch@cspplastics.com   Email
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    Top 30                                 The Timken Corporation            Charles Wojdyla               4500 Mount Pleasant                                                         North Canton      OH    44720                                                      Email
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    Top 30                                 Three-Dimensional Services        dba 3 Dimensional Services    Garry Kasaczun               2547 Product Dr                                Rochester Hills   MI    48309                    GarryK@3dimensional.com           Email
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    Top 30                                 thyssenkrupp Materials NA, Inc.   dba Ken-Mac Metals or         Allyson Fridley              22355 W Eleven Mile Rd                         Southfield        MI    48033                    Allyson.Fridley@thyssenkrupp-     Email
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    Top 30                                 Ventra Group Co.                  dba Flex-N-Gate Bradford      Laura Correa                 1 Riverside Drive West                         Windsor           ON    N9A-5K3      Canada                                        First Class
                                                                                                                                        Ste 700                                                                                                                           Mail
    Top 30                                 VIA Optronics LLC                 Brett Gaines                  6220 Hazeltine National Dr                                                  Orlando           FL    32822                    BGaines@via-optronics.com;        Email
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In re Lordstown Motors Corp., et al.
Case No. 23-10831 (MFW)                                                                                                                          3
                                                                              Case 23-10831-MFW                                 DocCore/2002
                                                                                                                                     920-1            Filed 01/19/24
                                                                                                                                             Service List
                                                                                                                                                                                       Page 5 of 5



                  Description                        CreditorName                 CreditorNoticeName                 Address1                   Address2             Address3         City   State Zip          Country                 Email              Method of
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    Adam Kroll                             Aronoff LLP                        Walsh                         Suite 1201                                                                                                    swalsh@Beneschlaw.com            Email
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                                           Flom LLP                           Madden                                                                                                                                      jennifer.madden@skadden.com
    Counsel for LAS Capital LLC            Skadden Arps Slate Meagher &       Robert D. Drain                One Manhattan West                                                 New York     NY    10001                  robert.drain@skadden.com       Email
                                           Flom LLP
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Case No. 23-10831 (MFW)                                                                                                                          4
